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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                       :
In re:                                                 :   Chapter 11
                                                       :
Zohar III, Corp., et al.,1                             :   Case No. 18-10512 (KBO)
                                                       :
                                   Debtors.            :   Jointly Administered
                                                           Hearing Date: October 14, 2020 at 10:00 a.m.
                                                       :   Obj. Deadline: October 7, 2020 at 4:00 p.m.
                                                       :   Related to Docket No. 1915

                                              NOTICE OF MOTION

       PLEASE TAKE NOTICE that, on September 30, 2020, the Motion of PPMG For Entry
of an Order Authorizing Filing of Brief Under Seal (the “Seal Motion”) was filed with the Court.

        PLEASE TAKE FURTHER NOTICE that an objection, if any, to the Seal Motion must be
in writing, filed with the United States Bankruptcy Court for the District of Delaware, 824 N. Market
Street, 3rd Floor, Wilmington, Delaware 19801, and served upon the undersigned counsel, so that it
is received on or before 4:00 p.m. (ET) on October 7, 2020.

     PLEASE TAKE FURTHER NOTICE THAT, A HEARING ON THE SEAL MOTION
WILL BE HELD ON OCTOBER 14, 2020 AT 10:00 A.M. (PREVAILING EASTERN TIME)
BEFORE THE HONORABLE KAREN B. OWENS, UNITED STATES BANKRUPTCY JUDGE
OF THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE,
824 NORTH MARKET STREET, 6TH FLOOR, COURTROOM NO. 3, WILMINGTON,
DELAWARE 19801.

        PLEASE TAKE FURTHER NOTICE that, if you fail to respond in accordance with this
notice, the Court may grant the relief requested by the Seal Motion without further notice or hearing.




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  The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar II
2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times Square, c/o FTI
Consulting, Inc., New York, NY 10036.

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Dated: September 30, 2020
                                         COLE SCHOTZ P.C.

                                      By: /s/ Patrick J. Reilley
                                         Norman L. Pernick (No. 2290)
                                         Patrick J. Reilley (No. 4451)
                                         G. David Dean (No. 6403)
                                         500 Delaware Avenue, Suite 1410
                                         Wilmington, DE 19801
                                         Telephone: (302) 652-3131
                                         Facsimile: (302) 652-3117
                                         npernick@coleschotz.com
                                         preilley@coleschotz.com
                                         ddean@coleschotz.com

                                         – and –

                                         GIBSON, DUNN & CRUTCHER LLP
                                         Randy M. Mastro (Admitted Pro Hac Vice)
                                         Mary Beth Maloney (Admitted Pro Hac Vice)
                                         200 Park Avenue
                                         New York, NY 10166-0193
                                         Telephone: (212) 351-4000
                                         Facsimile: (212) 351-4035
                                         rmastro@gibsondunn.com
                                         mmaloney@gibsondunn.com

                                         Robert Klyman (Admitted Pro Hac Vice)
                                         333 South Grand Avenue
                                         Los Angeles, CA 90071-3197
                                         Telephone: (213) 229-7000
                                         Facsimile: (213) 229-7520
                                         rklyman@gibsondunn.com

                                         Monica K. Loseman (Admitted Pro Hac Vice)
                                         1801 California Street, Suite 4200
                                         Denver, CO 80202-2642
                                         Telephone: (303) 298-5784
                                         Facsimile: (303) 313-2828
                                         mloseman@gibsondunn.com

                                         Counsel to Patriarch Partners Management Group,
                                         LLC




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